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                      PUBLIC ACTS,
        PASSED BY THE GENERAL ASSEMBLY

                                   OF THEI




                           MAY SESSION, 1859,




                    STATE OF CONNECTICUT,

                OFFICE OF THE NRORITART OP STATE, JUNE,   1869.




                           HART FORD:
                 DAY & CLARK, STATE PRINTERS.
                                    1859.


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                                      MILITARY FORCE.                              01

          shall be forever precluded from claiming and showing
          that said taxes have not been paid, but it shall be taken
          as conclusively proved that said taxes have been paid.
          Providcd, however, that in all cases whore the select-omis-lonof     I,"
                                                                 Inatures of select
          men of any town in this state have hcretofore returned nnnotdtolya.
          to tle town clerk a list of the names of persons wos6 atmeto
          state or town taxes have been by them abated, and have hertooft mad.
          neglected to subscribe their names thereto, the same shall
          not, by reason of such neglect, be thereby invalidated,
          and may be proved by any other proper evidence.
             SEC. 4. Any collector of taxes knowingly and do- Penaltormak.
                                                                     Ing falso corul-.
          signedly making a false certificate, and any selectman aor ist.
          of any town knowingly and designedly making a false
          list of persons whose taxes shall be abated under this
          act, shall pay a fine not exceeding two hundred dollars ;
          said offence to be a crime, and to be prosecuted and pro-
          ceeded with like other criminal offences.
             SEc. 5. The fifth section of the act to wlhich this is
          an addition, and all acts and parts of acts inconsistdnt
          herewith, are hereby repealed.
             Approved, June 24th, 1859.




                               CIIAPTER LXXXII.

          An Act in addition to and in alteration of "An Act for
              forming and conducting the Military Force."

             Be it enacted by/ the Senate and House of Representa-
          tives in General Assembly convened:
             SEC. 1. There shall be one parade annually, some- parades.
          time in the month of May, for one day only, by company;
          also one parade annually, for one day only, by regiment
          or brigade, in the month of August or September, as the
          comnanding officer of the division shall direct, with the
          approval of the commander-in-chief.
             SEC. 2. Chaplains, surgeons, paymasters, engineers AIitofficer
          and sergeant-majors, may appear on horseback only on mnay  ap ear on
                                                                    mbieo
           days of general  review ; on all other occasions, they ayof
                                                                            Of only
                                                                               oly.l
                                                                           reiW,
           shall appear on foot.
             SEC. 3. Every company that shall comply with ti Allowano for
           provisions of the military laws, shall be allowed, out of and  ofamory
                                                                     rent drill-room.
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                              the state treasury, the sum of seventy-five dollars per
                              annum, as rent for armory and drill-room, upon a cer-
                              tificate from the adjutant-gencral that such company is
                             justly entitled to receive the same.
          Allowance to           Sirc. 4. Any company of governor's guards which
         guoaeor',           shall do duty in accordance with the provisions of law,
                             shall be allowed seventy~five dollars per annum for ar-
                             mory rent.
         Tmerponry         .     S'c. 5. If any booth, shed, tent, or other temporary
         Zeon.  forn!
                   1.        eeto,        ihn one mlmile of any military parade-ground,
         li"'or, org.        erection, within
         Iog, near p.rdo muster-field or encampment, shall be used and occupied
           =' m.yTefor the sale of spirituous or intoxicating liquor, or for the
         Dances,             purpose of gambling, tile officer commanding said
                             parade-ground, muster-field or encampment, the sheriff
                             or deputy-sheriff of the county, or any justice of the
                             peace, selectman, or constable of the town in which such'
                             booth, shed, tent, or other temporary erection is situated,
                             u on having notice or knowledge that the same is so
                             used or occupied, shall notify the owner or occupant
                             thereof to vacate and close the same immediately; and,
                             if said owner or occupant shall refuse or neglect so to
                             do, said commanding officer, sheriff, deputy-sheriff, jus-
                             tice of the peace, selectman or constable, may forthwith
                             abate such booth, shed, tent, or other such temporary
                             erection, as a nuisance, and may pull down or otherwise
                             destroy the same, with the assistance of any force, civil
                             or military.
         Board of officers       SEc. 6. The commander-in-chief is hereby authori-
          dtaprepare
        ctl to boe  appoit,
                       syB.
                             zed to appoint a board of officers to prepare a system of
        ton of regula. general regulations for the government of the militia, for
         tions,              which services no compensation shall be claimed or
                          allowed.
        Quartr-m
        general   .str.
                to inspect ^1SEc. 1 7. It shall be the duty of the quarter-niaster-
        armorle, gun      general, annually, to inspect the armories and gun-
        h.,os,O..         houses of the several companies, and also the rooms oc-
        nually.           cupied by the regimental bands ; and, on or before the
                          first day of November, to make to the adjutant-general
                          a fill report of the condition of the same, and what com-
        Conpenation.      panics are entitled to the allowance for armory rent; for
                          which services he shall be allowed the sum of nine cents
                          for every mile of necessary travel.
        companies may       SEC. 8.   Each company may adopt, by a vote of two-
        force NJ,tio,, thirds of its members, rules, regulations and by-laws for
        and by awe,    the government of its members, not inconsistent with the
                          militia laws; and such rules, regulations and by-laws
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                           COMMUNITIES AND CORPORATIONS.                        68

        shall be binding, and may be enforced by process of law;
        and any member who shall violate any such rule, regu-
        lation or by-law, may be expelled from his company by a
        major vote of tho same, provided that such vote is ap-
        proved by the commander of tho regiment.
           SEc. 9. Assessors ofpersons • •• liable
                                                •  to pay- the commu- compensation   or
                                                                      exleogors anldc01-
        tation tax, as provided in section nine of tho act approv-lortorsofeom-
        ed Juno 28, 1856, shall be allowed the sum of one centmutationlX.
        for each person so assessed ; and each collector of com-
        mutation taxes shall be allowed the sum of two cents for
        each tax actually collected and paid into the town treas-
        ury by him ; and, if any assessor or collector shall refuse Penalty for
        or neglect to perform the duty required by said act, he eglect.
         shall forfeit to the state not less than fifty nor more than
         one hundred dollars.
            SEc. 10. Second lieutenants of companies are hereby Seond Houton.
         required to attend the officers' drill, established by atattenddlflcors'
        approved June 29, 1855, and to comply with all lays drill.
        relative thereto.
           SEc. 11. This act shall take effect from and after itsTotakeefoot
        passage; and section twenty-eight, of the act approved from p.aago*
        July 1, 1854,-section one, of the act approved June 28,
        1856,-section one, section nine, of the act approved
        June 25, 1857,--and all other acts or parts of acts, in-
        consistent herewith, are hereby icpealed. Section  three prvison
                                                        oellonl~lr~o in,o"t o
                                                                         of 1856,

        of, tho act approved June 29th, 1855, is hereby re* for offcers' drill.
        enacted.
           Approved, June 24th, 1859.




                             CHAPTER LXXXIII.

           An Act concerning Communities and Corporations.
            Be it enacted by the Senate and House of Representa-
         lives in General Assembly convened:
            The secretaries or clerks of all stock fire and fire and Inoranco cor-
         marine insurance companies who are by law requiredoxp ooo.
                                                             of Jan-
         to make returns to the comptroller, in the month said               return
                                                                         rordllg
                                                   of making      re-
         uary of each year, shall, at the time
         turn, pay the expense of making the record of the same.
            Approved, June 24th, 1859.
